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                                  #:2274




                            EXHIBIT "A"




                                                     EXHIBIT "A" - Page 3
                                                                                                                                                                                                                                       Billed andUnbilled
                       Time Report
                                                                                                                                                                                                                                                 08/06!2018
                       Stephen J. Donell, Receiver I SEC v. Francois Durmaz, et al.(13326-7)


                                                                                                            Staff Level   Description   Rate     Orig Hrs     Orig Amt   Orig Rate   Rev Hrs   Rev Amt   Rev Rate Service   Activity   Invoice    Status
                           Date       SM/Task Attorney Name

                                                                                                            1C            °aCner                     0.30       157.50     525.0        0.30    "57.50     525A0 70 00                 200202     Bi!lea
                       08/15/20'1 B12C         0'52       UoldgByronZ.
                        Prepare states repot fcr ~ecelver
                                                                                                            10            aarine-       ?            0.20       100.00     500.0        020     ?00.00     SOO.00 iG000                200202     8'..II?a
                        08/'~~20'1 8160        U"39      Davidson, Peter A.
                         Write Receiver re Bang `ee app.
                                                                                                            10            ~ar;ner                    0.?0        52.50     525. 0       0.~0     52.50     ~25.0~ 10000                200202     Billed
                        09/08/2011 B12C        0'52       V~o!dc, Byron Z.
                         Review Mich,aelsen status reaor.
                                                                                                                          ?ar;ne~                    0.10        52.50     525.OG       0.10     52.50     525.00 10000                200202     B!'Jed
                        09116/2011 83'.0         0'.52      Molao, Byron Z.                                 '.0
                         Review ~ece~ver letter re wage c'~.aims
                                                                                                            ?0            Par;ne•       -            020        105A0      525.00       020     '05.00     525.0   ~0~00               200202     &Iieo
                        09!?6!2011 83"~C       U'S2       Moido, Byron Z.
                         Teleoho~e call ?tom G~eenbero re wage claims
                                                                                                                          ?artner                    0.30       157.50     525-QO       0.30    ?57.50     525.00 10000                200202     B~.'Jea
                        09/'•62011 83'0      0'52             V:oldc,8yronZ:                                .0
                         Analyze wage c:aims
                                                                                                            ?C            ?aCner                     0.'C        50. 0     SOQCO        0.'0     SQ-00     500A0 10000                 200202     BU.iea
                        09/'.7/20`1 8130      0`3°        Davidson.Pe`erA.
                         Teleohoee caJ ^.vesbr re case status.
                                                                                                                          ?ar,ner                    0.'..0      52.50     525.00       0.'0     52.50     525,00 10000                20022      B.7ea
                        09!30120?1 8120          0'52         Uoido,ByronZ.                                 ?0
                         Review Mfchaeisen '. e;te~ re star,:s of recovery efforts
                                                                                                                          partner       ~            0.40       210. 0     525.00       0.40    Y:0.00     525.OG 100-00               2CL'292    6~~Jed
                        i 0!07/20' 1 8120         C'. 52     V•oidc, Byron Z.                               10
                          Review ~nc:io^~ Ic serve ce~e ndan:s by publication
                                                                                                                                                                                                                                                                                                #:2275




                                                                                                                          Associa!e                  070        182 A0      260-OG      O7D     182.00     260.0   10600               2002^c     B~'leo
                        10/18.20'1 8120         9 23       Eandi, Matthew J.                                20
                         Research Il~inois Law re: wage orior'y in receivership
                                                                                                                          Par[ner                    020        105A0      525.00       020     SOS.CO     525-00 10000                200202     B~.iec
                        10/?812011 E3`.0      0?5c      Noido,ByronZ.                                       ?0
                         Review scheeule of wage claims
                                                                                                                          Partner                    0.30       157.50      525.00      0.30    15750      525.00 10000                200202     6- '- ~eo
                        10/?8120?1 E3?C          0152       ~oidc,ByronZ.                                   ?0
                         Telephc.^e ca~J `ram receiver, Ba:es re p.iority wage claims
                                                                                                                          ?ar:ne-                    0.30       15750       525.00      0.30    '57.50     525.06 10000                200202     BI-~.;eo
                        t0l^.820?1 831           0'.52         Uoloc.BYronZ.                                ?G
                         Prepare iette~ :c recziver re priority wage claims
                                                                                                                                                     0.10        5250       525.00      0.?0     52.50     525.00 10000                20022      Bi~leo
                        10!24/26'1 Bi2~          0152        V~o~dc,ByronZ.                                 ?0            ~arne~
                         Review ^o`.ice of nernreceip' of opposition re motion for service
                                                                                                                          Par!ne~       1            0.30       150.00      SOC.00      0.30    ?50.00     500.00 10000                20022      8~9ea
                        1 1/02/20?7 8507        0'39        Cavidscn,Pe;erq.                                ^..0
                         Telephone tail court 'e selt~emeni conf. on Lovett.
                                                                                                                          Parser        ~            020        100A0       500.00      020     100.00     500-OC 10000                200202     BPJed
                        1 1/02/20^1 6160        0'.39      Davidson, Peter A.                               10
                         Teleahe~~e call re`ee app issues. Receiver .
                                                                                                                          Par,ner           ~,       OAC        ~OOAO       500.00      0.40    200.00     500.00 10000                200202     B!'~lea
                        1 1/02/20'1 B160           0'39       Davidron,Pe:erA.                               10
                          D rak no!!ce of mo'.io^ to approve payment of interim fees is Receiver and professionals,
                                                                                                                          °ar?nor                    1.40       700.00      SOG-00      ?.40    70.00      SOO.00 10000                200202     Billeo
                        1 VC2/20?1 B16G        0'38      Davidson, Peter A.                                 i0
                         DraF motion io aaorove aaymenl of fees to Receiver ana Prcfess~.onals.
                                                                                                                          ?armor        ~            020        105.00      525.00      020    '5.00       525.00 10000                200202     Bliled
                        1 1/07/20'1   812         0'52        Moldo,ByronZ.                                 '~.0


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EXHIBIT "A" - Page 4
                                                                                                                                                                                                                                                              Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 2 of 15 Page ID
                       Time Report                                                                                                                                                                                         Billed and Unbilled

                       Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326.7)                                                                                                                                          08I06I2018



                           Date        SM/Task Attorney Name                                  Staff Level   Description   Rate    Orig Hrs   Orig Amt   Orig Rate   Rev Hrs _   Rev Amt      Rev Rate Service   Activity   Invoice    Status

                         Review '. 1i3/"" order fcr service by ~ub!ica'ior
                                                 0?39        Davidscr.,PeterA.                '-0           Partner       ~          020       100.00     SOC.00       020         ~~.00       500.0   10 00               200202     &Ilea
                        1 1IG8/2051 B1E0
                          Revise notice cf mo;ior. re payrnen[ of inte~•im compensat~.on.

                                                 0139        Davidson. Feie~ A.               ?0            ?artner                   O.00       0.0~        C.~O      0.00     -2,333]5         O.00 10u00                172919     Billed
                        1 1I08l20' 1

                                                 0'52        Moido, Byron Z.                  '0            Partner                   OAC        0.00       0.00       0.00      -SC9.50         O.00 10~~0                172919     B'.ileo
                        1 1/08/20' 1

                                                             Shenk.. John W.                  20            Associate     ?           O.00       0.~0        C.CO      0.00      SY.10           O.00 1000                 172819     B'~.Iled
                        1 1IC8/20''              0290

                                                 0363        Emerson, Charlene                ~C            Paralegal                 0.00       Q~0        0.00       0.00       -So_40         O.00 10 00                172919     Biiled
                        1 1108/2011

                                                 9364        Newman, Jennifer L.              ~0            Paralegal                 Q00        0.~0        QCO       0.00      -272.60         O.00 10000                172519     B'a'led
                        1 1/08/2011

                                                             Davidson, Pe:e-A.                '
                                                                                              ,0            ?arine~                   1.i0     550.00     5o0-CO       t.i0       550.00       SOO.oC 10"u00               200202     B'iled
                        1 1/09/2051 8160         0`39
                          Revise moticr for io:erim fees.
                                                            Davldscn,Pe;e~A.                  '
                                                                                              :0            °arner                    0.60     300A0      50CA0        0.60       3~C.00       500.00 10000                20022      Biiteo
                        1 1/'.0/20'1 6160        0"~.39
                          Revise `ee app ruction ana Sena to receiver.
                                                                                              10            Partner       ~           O.iC      52.50     525.00       O.iO        52.50       525.00 ~O~OC                2G0202     B'~11ed
                        1 1/22/2011 B3'.0       0'.'52       Moido, Byron Z.
                          Telephc^e call from gates re priority wane claims
                                                         Moldo,ByronZ.                        '
                                                                                              .0            Partner                   020      105.00     525A0        0.20      ' 5.00        525.00 10000                200202     B;!ted
                        1 2/0./20"1 63'.0      Oi52
                          Review Lecnausseur claim and advise receiver
                                                                                                                                                                                                                                                                                   #:2276




                                                                                              '
                                                                                              .0            ?artne!       ~           0.20     105.00     525.00       020        " 5.00       525A0 1000                  20C2~2     8'Jed
                        1 2/02/20'.1 6310         0'~~52      Mo;do, Byror• Z.
                          Review receiver letter re prority claims
                                                           Davidscn,Pe,erA.                   "-0           ?ar;ner                   0.30     150. 0     SOG.^0       0.30       15.00        500-Ou 10 00                200202     B Iled
                        1 2/05/20':1 B160       0539
                          Letter to Van Havermatt re proposed fee app mo5on.
                                                                                              10            ?artner                   D20      105.00     525.00       020        "~,DS-00     525.OG 10000                200202     Billed
                        12/OS/2G` 1 8310        0'x.52    Motdc, Byron Z.
                         Review Bates !e:der and respcna re priority claims
                                                                                              '
                                                                                              -0            Partner                   0-1C      52.50     525.00       0.10        52.50       525.00 1000                 200202     Bi'.led
                        12/CS/20'~.1 B13C          0'52        Noloa, Byron Z.
                         Review Bates '~. e;ter 'e estate funds
                                                                                              'A            Partner                   020      105.00     525.00       0.20       "~~SAO       525.00 10000                200202     B~Ileo
                        1 2/07/2011 8310         0152        Mo!do, Byron Z.
                          Telephone call [o Bates re priorty wage claims
                                                                                              '0            Partner                   0.10      SO.uO     SOG.00       0.10        50.00       500.0   10000               200202     Bi'Jed
                        12/13/20".1 B160     0139       Davidson, Peier A.
                         Coresponaence to Rece!ver re status of SEC comments on fee app.
                                                           Davidson, Peter A.                 10            Partner       ~           0.10      50.00     500.00       0.'0        50.00       SOO.00 10000                200202     Billea
                        12/16/2011 812         0139
                         Telephcne ca!I Receiver 'e case status and how to wrap up case.
                                                                                              '0            Partner           ~       0.10      50.00     500.00       0.10        5 .00       SOO.00 10000                200202     B;!led
                        12/19/20' 1 612u         0'39        Davidson, Peter A.
                         Leiter to Receiver re check for Marlali.
                                                          Davidson,Pe:erA.                    10            Partner                   0.10      52.50     525.00       0.10        52.50       525.00 10000                200202     Bi!led
                        01/?0/20?2 6160        039
                         Telephone call Vao Havermat[ re fee app mo!ion.
                                                                                              ?0            Partner       1           0.40     2 0.00     525.00       0.40       Y~0.00       525.OG 10000                200202     Billea
                        01/10/20'.2 8160         0.39        Davidson, Peter A.


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                                                                                                                                                                                                                                                 Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 3 of 15 Page ID
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                       Time Report
                                                                                                                                                                                                                                                                        08106/2018
                       Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326-7)


                                                                                                        Staff Level    Description                     Rate       Orig Hrs     Orig Amt     Orig Rate   Rev Hrs     Rev Amt     Rev Rate Service   Activity   Invoice    Status
                           Date      SMITask Attorney Name

                         Draft order for fee app.
                                                                                                        '.0            Par'ner                         ~              1,40        735.00      525 A0       '.4~      735.00       525.0   10000               200202     Bi!led
                        01/10/20 2 6160         0139        Davdson.Pe;e~A.
                         Finalize fee motion and ge? oeciaraN~ons signed.
                                                                                                         10            Partner                         ^              0-'.0        52.50      525.00       0.10       52.50       525.00 i0~D0                2002^2     BiJed
                        01/?'~./20?2 B120       0 52         V,o'~.ac,ByronZ.
                         Review application to enter de~`ac!!
                                                                                                         ?0            PaCne;                          ~,             0.10         52.50      525.00       0.10       52.50       525.0 10 00                 200202     Bi;ied
                        01!?7/2012 8120             0152    U:oldc, Byron Z.
                         Review default
                                                                                                                       Partner                         i              0.20        105.00      525.00       020       1u^5.00      525.00 1000                 200202     8iiled
                        01/24/20'2 B120         0X52       V~o~~.do, Byron Z.                            `:0
                         Telephone call to Bates re bank ac~o~nt information
                                                                                                                      .Partner                         ~              0.30        157.50      525.00       0.30      ''.57.50     525.00 10000                200202     Bi'~lea
                        01!25/2012 6120          0?52       Md~ao, Byron Z.                              ?0
                         Prepare ietler to Bates re banks
                                                                                                                       Partner                         1              0,'.0        52.50      52590        0.'~0      52.50       525.00 '10000               200202     Bi~ilea
                        01/26/2012 8120         0'.39      Davidson, Peer A.                            '0
                         Telephone call William re case status.
                                                                                                         '.0           Partner                          ~             0.10         52.50      525.00       0-'~,0     52.50       525.00 10000                200202     Bi7ea
                        01/26/2012 6120       0152          Moidc, Byron Z.
                         Review's/26/'2 minute oraer
                                                                                                                       Partner                                        0.?0         52.50      525.00       0.?0       52.50       525.00 1000                 200202     Billed
                        OU26/20?2 6120          0i52      Voido, Byron Z.                                ?0
                         Review Bates letter re bank subpoenas
                                                                                                                                                                      2.60        o1'~.00     235.00       2.60      611.00       235.0   1000                200202     B'~ leo
                                                                                                                                                                                                                                                                                                                     #:2277




                        01/27/2012 8120         0361      Casteiii, Teresa N.                       40            Paralegal
                         Researoh and retrieval of documents regarding documen'oemards !c narks and supaorting subpoenas and correspondence.
                                                                                                                       Par.ner                              ~.        0.'C         52.50      525.00       0-i0       52.50       525.0   10000               2002 2     Billed
                        01127/20'.2 6120        0139        Davidson. Peter A-                           `~0
                         Wr'.ie Grobstein and Receiver re info requested 6y SEC.
                                                                                                                    Paralegal                         1           2.80             658.00     235. 0       2$0       E58.00       235.00 10000                200202     Biifed
                        01/30/2012 B12C         03E1      Castelli, Teresa M.                          40
                         Research and retrieval of documents regarding subpoenas issues to oanks. Preoaralion o` memorandum to PAs 8a?es regaroirg same and traasmiiting res;;ils.
                                                                                                                       Partner                              ~         O.iC         52.50      525.00       0.10        52.50      525.00 10000                200202     Billea
                        01!3012012 6120       013?       Davidson,PererA.                                ^0
                         Telephone call VanHavermai~ re need `or how much De*enda^Ys owe.
                                                                                                                       Partner                               ~.       O.1C         52.50       525.00      0.10        52.50      525A~ 10000                 200202     BL'lea
                        01/30/2012 B120        0139       Dav~dson,Pe'erA.                               10
                         Write Receiver and Grobsteln re losses caused by defendants.
                                                                                                                       Partne!                                        0.^~C        52.50       525A0       0-i0        52.50      525.00 10^u00               20020e     Billed
                        01/30/2012 6120       0'~~39         Davidson, Peter A.                          `.0
                         Review SEC status report.
                                                                                                                                                       1              ~2C         105.00       525.00      020        '. 5.00     525.00 10000                200202     B~Iled
                        01!30/2012 8120         0152       Moidc, Byron Z.                               .0            Partner
                         Discuss with receiver SEC status report
                                                                                                                       Partner                         1              0.10         5250        525.00      0.10        52.50      525.00 10000                200202     Billed
                        02/01/20"2 H120       0152           Moldo, Byron Z.                             10
                         Review 1/31/12 minute order
                                                                                                                        Partner                        ~              0.10         52.50       525.00      0.10        52.50      525.00 10000                200202     Billed
                        02!07/2012 8120        0139      Davidson, Peter A.                              10
                         Telephone call Van Havermatt re^.eed for loss figures and wri?e Grobstein and Receiver for same.
                                                                                                                       Partner                         1              0.'G         52.50       525.00      0.10        52.50      525.00 10000                200202     Billed
                        02/OB/20i2 B310             0152     Moido, Byron Z.                             '0



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EXHIBIT "A" - Page 6
                                                                                                                                                                                                                                                                                   Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 4 of 15 Page ID
                                                                                                                                                                                                                                       Billed and Unbilled
                       Time Report
                                                                                                                                                                                                                                                 OS/06I2018
                       Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326.7)


                                                                                                          Staff Level   Description   Rate      Orig Hrs     Orig Amt   Orig Rate   Rev His   Rev Amt    Rev Rate Service   Activity   Invoice    Status
                           Date      SMfTask Attorney Name

                         Review 2/7/.2 crier re Sandrik claim
                                                                                                          10            ?artner                     O.iC        52.50     525.00       0.?0     52.50      525.00 10000                20022      &;'~leo
                        02/08/2012 B12~           0?39       Davidsc^, Fete~A.
                         Review letter `.rori i^ves:cr anvardeo by tour.
                                                                                                          10            ?aCner        ~             0.iC        52.50     525.00       0.10     52.50      525.00 10000                20022      Billed
                        02/09/2012 B16C        0152       Md~,ao, Byron Z.
                         Review 2191i2 order approving interim fees
                                                                                                      ^0                Par'ne•                     0.20       105.00     525.00       020     105-00      525.0   10000               200202     Billea
                        02/09/20?2 83'.~         0 39        Davidscr. Pe!erA.
                         Fcrward claim In`;o, and transfers make :o defendants b Va^ Havermaat a SEC.
                                                                                                          ?0            ~arner                      0.10        52.50     525-~C       0.10     52.50      525A~ 10000                 200202     6~Ilea
                        02/10/2012 B12C          0139       Davidscr., Feterq-
                         Letter tc Receiver re check :c Marian.
                                                                                                          ~0            ?artner                     0.?0        52.50     525.D0       0.10     52.50      525.0   10"u00              20022      BiJeo
                        02/10/20?2 616          0?39        Davidscn.PeierA.
                         Review court prier g:ar.?ing fee apps.
                                                                                                          '•0           Partner                     0.10        52.50     525.00       0.10     52.50      525.00 10000                200202     8~~.'leo
                        02116/20^2 B12C        0139      Davidsc.^.. Feter A.
                         Telephone call Van Havermaadl re talking :c receiver re loss numbers.
                                                                                                                        ?aralegal                   3.30       775.50     235.00       3.30    775.50      235.0   10000               200202     Bi?lea
                        02/?7/2012 6120         0361      Caslelli. Teresa N.                             40
                         Research and retrieval cf subpoena doc~rrien!s.
                                                                                                                        partner       1             0.'~.0      52.50     525.00       0.10     52.50      525.0   10000               200202     Bi'~lea
                        02/21/20.2 612u^       0552       No!ao, Byron Z.                                 10
                         Review 2117/12 order cont~nuicg date to file moticn for de`ault :;dgmen[
                                                                                                                                                                52.50      525.Q0      0.'0     5250       525,OG 10000                2002D2     B'Jleo
                                                                                                                                                                                                                                                                                               #:2278




                        02/21/20'2 B12C        0',39       Davidson. Peter A.                             .0            Parner        ,.            0.10
                         Write Receiver re payme^: to Marla!i.
                                                                                                          10            Pa~ner            ~,        Q.G         52.50     52580        O.iO     52.50      525.00 10000                200202     B',!led
                        02/2?/201c B12C       0?39       Davidson, pe±er A.
                         Review SEC request !or week extensior. to `:le default prove up motion.
                                                                                                      10                Partner           ~.        0.40       210.00      525.00      0.40    2',0.00     525AC 10000                 20022      8iileo
                        02/23/2012 B'12C     0'39        Davidson ; Peter A.
                         Review proposes consent o` defendants to entry of ~udgmen! by SEC and proposed judgment.
                                                                                                                        Partner           ~         0.1G        52.50     525.0        O.iO     52.50      525.0010000                 200202     Billed
                        02/23!2012 8120        0',33     Davidson,FeterA.                                 10
                         Telephone call Van Havermaadt at SEC ~e proposed consent udgment Issues.
                                                                                                                        ?aRner                      0.?C        52.50      525.00      0.10     52.50      525.00 10000                200202     Bi'Jeo
                        02/23/2012 6120        0?39      Davidsc^, Pe~erA.                               "0
                         Telephone call Van Harvermaadt re revising censer.! to judgment and `orwa~d to receNer.
                                                                                                                        Par.ner                     0.10        52.50      525.00      0.10     52.50      525.0010000                 200202     8iilea
                        02/23/2012 B12G        0'39       Davdscn,PeterA.                                 10
                         Review coup order gra^ling extension for SEC to file default judgment motions.
                                                                                                                        Partner                     020        105A0       525.00      020     '.05.00     525.00 10000                200202     Bf~Jea
                        02/23/2012 B12C        0'52        Mo~do, Byron Z                                 10
                         Review consent to entry of judgment; proposed judgment
                                                                                                                        Paralegal     1             0.50       117.50      235.00      0.50   '17.50       235.00 10000                200202     Bi!lea
                        03/05/2012 6120        0361      Castelli, Teresa N..                             40
                         Review subpoena files for documents for response to AUSA.
                                                                                                          '~0           Partner            ~.       0,20       105.00     525A0        020     1~5-00      525.00 10000                200202     Bi!leo
                        03/05/2012 B12C         Oi52      Moidc,ByronZ
                         Review motion for default judgment
                                                                                                                        ?ar.ner            ~        020        105.00      525.00      020     1 5.00      525.0"u 10000               200202     Billed
                        03/05/2012    B120      0'39       Davidson. Pe:erA_                              ?0




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                                                                                                                                                                                                                                          Billed and Unbilled
                       Time Report
                                                                                                                                                                                                                                                    08/06/2018
                       Stephen J. Donell, Receiver 1 SEC v. Francois Durmaz, et al.(13326.7)


                                                                                                            Staff Level   Description   Rate    Orig Hrs     Orig Amt    Orig Rate   Rev Hrs     Rev Amt    Rev Rate Service   Activity   Invoice    Status
                           Date       SM/Task Attorney Name

                         Review fled corsen! for jaogmert a^.a proposed final judgment as [o recelvers~^~.;, esiiCes.
                                                                                                            10            Partner       ~           0.?C        52.50      525.00       0.`0       52.50      525.OG 10000                200202     Billed
                        03/07120^.2 8120       0139       Davldsor, Fe'er A.
                         Teleohc^e call Candice re case status.
                                                                                                            ~G            Paralegal                 0.4C        9~.~0      235.00       0.40       9<.00      235.00 1000                 200202     Bi'Jea
                        D3/GSl20':2 8120      03E1       Casteili. Teresa N.
                         Resea~ch regarding subpoenas `or ALSA.
                                                                                                            '-0           ?artne~                   0.'C        5250       525.00       0.'--0     52.50      525.00 10000                200202     B''Jeo
                        03N5/20'~2 8310         0^.52       V~~oido, Byron Z.
                         Review Bates lever re clair^.s
                                                                                                            '.0           Partner                  02G         105.00      525.00       020       " 5.00      525.00 10"u00               200202     Bi:~lea
                        03Y~6/20`.2 B310             OS52   Noloo,By-onZ.
                         Analyze ~~.ist of creaitors
                                                                                                            20            Associate                 020         52.00      260.00       020        52.00      260.00 10000                200202     B~Ilea
                        03/19/20'.2 63?C        9423        Eand~~~,Ma'.thewJ.
                         Prepare mctior. to app•ove cia~.T ois'ribution.
                                                                                                            20            Associa'e     ~           0.^~.0      2E.~0      260.00       0.'.0      26.00      260.00 10000                200202     B'~.leo
                        03/20/20'.2 812^u    9 23           Eand', Mayhew J.
                         Review Madison Bay clairs.
                                                                                                            20            Associa!e     ~           0.20        52.00      260.00       020        52.00      260.00 10000                20022      Blllea
                        03/20/2052 6120            9<23     Eand. Ma~hewJ.
                         Review docket
                                                                                                            20            Associa?e                 O.5G       X30.00      260.00       0.50      '.30.00     260.OG 10000                20020.2    B'.~:lea
                        03/20/20`2 63 0        9 23         Eand'_ Marhew,i.
                         Review emal! corresro^.deice.
                                                                                                                                                                           260.00       0.10       26.00      260.00 10000                200202     B,~I'eo
                                                                                                                                                                                                                                                                                                  #:2279




                        ~3/20l20?2 612        9 23          Eand~. Mayhew J.                                20            Associate                 0.?C        2E-u^0
                         Review claims spreadsheet.
                                                                                                           20              Associate                OAC        104.u0      260.00       0.40      '04.00      260.00 10000                2002 2     Bi7eo
                        D3~20/2012 6120          9423        Eandi, Mayhew,;.
                         Review prelim~.nary in unc`_~c~ ark orders freez~~g assets; appointing a permanent receiver, etc.
                                                                                                            20            Associa'e         ~       O.SC       130.00      2fiCA0       0.50      '30.00      260.00 10000                200202     Billea
                        03/20/20.2 8120          923        Eand'~. NaBhew J-
                         Review first interim repot of Stephen J. Donell, Temporary Receiver.
                                                                                                                          Associate                 0.'0        26. 0      260.00       0.10       20.00      260.00 10000                200202     B!ied
                        03/20/2012 8120        9<23       Eandi, Matthew J.                                  20
                         Review temporary resuai^.~e~ order.
                                                                                                                          Associate                 120        312.00      260.00       '20       312.00      260AG 10000                 200202     B:Iiea
                        03/20/20?2 B310          9 23          Eand,Ma~hewJ.                                 20
                         Research re priority o` cla'.r~s !n receivership cases.
                                                                                                                          Associate     1           0.3G        7~.~0       26C.D0      0.30       78.00      260.00 10000                200202     Biiea
                        03120/2012 6160        9eZ3      Eandl, Matthew J.                                   20
                         Review motion for approving payment of interim fees.
                                                                                                                                            ~       020        105A0       525A0        020       ",05.00     525.00 10000                200202     BI'leo
                        03/20/20'2 B3?C      0'52            No!dc,ByronZ.                                   '~A          Partner
                         Review Madison Bay Fair dam
                                                                                                                          Partner                   020        105.00       525.00      020       1 5.00      525.00 10000                200202     B'~.:led
                        03(20/2012 83?0         0152       Moidq Byron Z.                                    10
                         Telephone call to Bates -e claims
                                                                                                                          Partner       1           0.10        52.50       525.00      0.10       52.50      525.00 10000                200202     B~~leo
                        03/21/2012 8120         0?39       Davidson, Peter A.                                ?0
                         Letter !o ReceNer re settlement payment.
                                                                                                                          Associate     1           0.60       156A0        260.00      0.60      150.00      260.00 10000                200202     Bi,led
                        03/21/2012 6310            9423      Eandi, Mathew J.                                20



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                                                                                                                                                                                                                                                                Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 6 of 15 Page ID
                                                                                                                                                                                                                                         Billed and Unhilled
                       Time Report
                                                                                                                                                                                                                                                   08!06/2018
                       Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326-7)


                                                                                                        Staff Level   Description   Rate         Orig Hrs    Orig Amt    Orig Rate    Rev Hrs   Rev Amt    Rev Rate Service   Activity   Invoice    Status
                           Date        SM/Task Attorney Name

                         Review CCP 1204 wl case anrota;lons.
                                                                                                                      As=ocia;e                      QSC       130 D0      26C.~0        0.50    130.00      2E0.0~ t00D0                200X2      B'~leo
                       03/2i/2012 B13~        9 23         Eand'.. Matthew J.                           20
                        Review case law a^.a draft cut~'ne of r^.o:icn `or distribution.
                                                                                                                      Associate                      0,3C       78.^u0     26C.00        0?0      78.00      2E0.0~ 10~~0                2002^u2    O'cIe❑
                        03l22I20'~:2 8126        9G23       Eandi. Matthew,;.                           20
                         Review !oca~. rules, wage's ca~endaring r~-~.es and closed dates.
                                                                                                                      Associa,e     ~.               02C        52.00      26C.~0        020      52.00      26~.0~ 1000                 200202     BI'~,lea
                        03/22/20"2 B12~          9423        Eand, 'vlatthew J.                         20
                         Review FRCP
                                                                                                                      Associate                      ~.':C      2E.^u~     26C.00        0.1~     26.00      260.0   10000               20022      B:~~.leo
                        03/22/20'.2 6130        9423        Eand'.. Matthew J.                          20
                         Calculate calendar:rg of meP~~en 'n' dis`.ebuten.
                                                                                                                      Associate                      02C        52. 0      26C.00        020      52.00      260.OJ 100D0                200202     Bi'Jeo
                        03/22/20"2 8310        9<23       Eandi, Matthew J.                             20
                         Review claims no:fce and claim SCeg procedures.
                                                                                                                      Associate     ?                0.2C       52D0       26C.~0        020      52.00      2EO.00 t0000                200202     B!'.lea
                        03/22/20.2 B31C        923       Eand{, NatthewJ.                               20
                         Review order grarting clams prcceoures.
                                                                                                                                    ~                02G        52.00      26C.~0        020      52.00      260A~ 10000                 200202     B''lea
                        03/22/2012 63',0     9423        Eand~,MatthewJ.                                20            Associate
                         Review and markup claimac: Gs: as o` Feb 4.
                                                                                                                                                     0-3C       78A0       260.00        0.30     78.00      260.0   10~D0               200202     n'~.Jea
                        03/22/2012 B3'0        9423         Eandl, Matthew J.                           20            Associate
                         Research aca de?erm:,ne priority of tax c"aims.
                                                                                                                                         ~           0.40      104.00       26G~0        0.40    104.00      260.00 10~D0                200202     8'. loo
                                                                                                                                                                                                                                                                                                 #:2280




                        03/22/2012 B3?C       9 23        Eand~, Matthew J.                             20            AssoGate
                         Review Madiscn Bay c'~~aim and analyze to determine if entitled to prlori:y-
                                                                                                                                                     0.60      156.00       26C.~0       0.60    156.00      260.00 10000                200202     Bideo
                        03/22l20'~.2 8136         9 23       Eandi, Matthew ~.                          20            Associate
                         Prepare distr:~buD.on ^;o?ion
                                                                                                                                                     O.6C      15E.00       2fiC-~0      0.60    156.00      260.00 10000                200202     B~'.leo
                        03/22(20'2 B13C          9423        Eand~~., Matthew J.                        20            Associate
                         Begin drafting Introduction section. c. PB~A.
                                                                                                                                                     0.20       5200        260.00       0.20     52.00      260.00 10 00                200202     BP~.leo
                        03/23/2012 6130          9423        Eandi, Matthew J.                          20            Associate
                         Draft in!ro section P&A
                                                                                                                                                     0.60      156.00       260-~0       0.60    156.00      260.0 100 0                 200202     B'~.'1e❑
                        0"x/23/20i2 B13C        9423       Eandi, N~atthew J.                           20            Associate
                         Review ana outline au:aority and cutline P&A sections.
                                                                                                                      Partner                        Q2C       105.00       525.00       020     105.00      525.00 10000                200202     8'~~leo
                        03/26/2012 6160          0.52       Moiao, Byron Z.                             ?0
                         Prepare letter to Boner re lerm~nation o`services
                                                                                                                                    1                020       105 A0       525.00       020     105.00      525.00 10000                200202     Bi',leo
                        03/26!2012 B16C          0"~,52      Moidc, Byron Z.                            10            Partner
                         Prepare letter to receiver re outstanding fees and costs
                                                                                                                                    1                020        52.00       ~6G.00       0.20     52.00      260.00 10000                200202     Bi'Jed
                        03/30/2012 831         9023       Eandi, Matthew J.                             20            Associate
                         Check archived emails and emai: Sarah Bates re status of claims.
                                                                                                                                    ~                0.10       52.50       525.00       0.10     52.50      525.00~ 10000               200202     Billeo
                        04/04!2012 8120         0?39        Davidson, Peter A.                          10            Partner
                         Review oraer directlng SEC .o f!Je one judgment.
                                                                                                                                             ~       0.20      105.00       525.00       020      105.00     525.0   10000               200202     Billed
                        04105/20 1 2   B12C       0152        Moldo. Byron Z.                           "0            Partner




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                                                                                                                                                                                                                                                               Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 7 of 15 Page ID
                                                                                                                                                                                                                                                              Billed and Unbilled
                        Time Report
                                                                                                                                                                                                                                                                        08/0612018
                        Stephen J. Doneil, Receiver /SEC v. Francois Durmaz, et al.(13326-7)


                                                                                                             Staff Level   Description                        Rate      Orig Hrs   Orig Amt    Orig Rate   Rev Hrs   Rev Amt    Rev Rate Service   Activity   Invoice    Status
                            Date      SM/Task Attorney Name

                          Review notice of lodging of judgmerr,
                                                                                                                           ?artner                                          02C      105A0       525. 0       0.20    ~~5.00      525AC 10G00                 200202     BI]ed
                         X4/12/20'2 8120      0152           Moldo,ByronZ.                                   10
                          Review!ina!;udgment
                                                                                                                           Parfier                                          0.?0      52.50      525.0        0.?0     52.50      525.00 t0~D0                2002^2     Bi'lea
                         04/?2/20',2 B12G       0139       Davidson, Pe?erA.                                 '.0
                          Review final judgment entered 5y the ccurt.
                                                                                                                                                                            0.3G      78.D0      2fiC-00      0.30     78.00      260.00 t0000                2002 2     B'~.iled
                         04/23/20'2 B12C          9423       Eandi, MaY.hewJ.                                20            Associate
                          Review case file fcr status cT documents as !c USA claims,
                                                                                                                                                                            020      105.^u0     525. 0       020     1 5.00      525.00 10000                200202     Bilea
                         ~6/C4/2052 B3iC         OS52        Moiao,ByronZ.                                   '.0            Partner
                          Review tax claims
                                                                                                                                                              ~.            0.50     7"x0.00     260.00       0.50    ?30.00      260.00 10000                200202     B~'.lea
                         06/04/2012 B310        9423      Eandl,UatthewJ.                               20                  Associate
                          Rece!ve ar,d review documents and emalls re USA Tax Claims final account ar.d repo
                                                                                                                                                                            0.80     208,D0      26G-00       0.80    208.00      2EO.00 10000                200202     Bi'-leo
                         06/C5/20i2 8130        923       Eand„ 'JMatthew J.                                 20             Associate
                          Review emai~,s ara documents regarding`inal account and report.
                                                                                                                                                              ~             1.00     260.00       26CA0       1.00    260.00      260.00 10000                200202     Biileo
                         06/05/2012 8130      9423      Eandi, Matthew .i.                               20            Associate
                          Review email coresponaence and documents in case file in preoareticn for arafthg motior approving final account and repo.
                                                                                                                                                                            0.?C      26.00       260.00      0.10     26.00      260.00 10000                200202     B'~Jied
                         06/52/2012 6130        9423       Eandi, Matthew J.                                 20             Associate
                          Receive and review emails regarding final accoun' and repot.
                                                                                                                                                                                                  260.00      1.00    2EOA0       260-OC 10000                200202     B~Ilea
                                                                                                                                                                                                                                                                                                                      #:2281




                                                923          Eandi. Matthew,;.                                 20            Associate                         ~            1.00     260.00
                         06/'~. 3/2012 6130
                          Print and review documents in `ile for draft'~~ng of background and events in 5na~ account and report.
                                                                                                                                                                            0.60     15E.00       260.00      0.60    '~So.00     2EOD~ 10000                 200202     Bi'.led
                         06/13!2012 8130       9423        Eandi, Matthew J.                                 20             Associate
                          Review and analyze docket for proceaurel history.
                                                                                                                                                                            O.6C     156.00       260.00      0.60    '56.00      260.Ou 10000                200202     B~.Ilea
                         061?3/2012 B13C          9423       Eandi, Matthew J.                               20             Associate
                          Draft motion on final account and report.
                                                                                                                                                              i             0.30      78.00       260.00      0.30     78.00      2E0.00 10000                200202     BI!leo
                         06!?3/2012 6130        9423        Eandi, NatthewJ.                                20           Associate
                          Review emails indicating fmand:al stale of receivership estate and make ca'.oulaio^s on same regarding priority of dis!ributions.
                                                                                                                                                                            1.00     260. 0       260.00      1.00    26 .00      260.0   10~~0               200202     Bfileo
                         06/13/20.2 8130        9423          Eandi, Matthew J.                               20            Associate
                          Legal research regarding priority for disU~bulions and federal/local rWe receivership law.
                                                                                                                                                                   ~        0.10      26-00       260.00      0.?0     26.00      260.00 10000                200202     Bi.'leo
                         O6/^4/20':2 B130         9523       Eand,MatthewJ.                                   20            Associate
                          Emails regarding final accounting from client.
                                                                                                                                                                            0.60     ^56.00       260.00      0.60     156.00     2fi0.0~ 10000               200202     B'J,leo
                         pg/14/20?2 8310       9423         Eandi, MaGhewJ.                                   20            Associate
                          Leal research regarding priority claims and distribu!ions.
                                                                                                                                                                            2.60     076-00       260.00      2.60    E76.00      260A0 10000                 200202     Biileo
                         06/14/2012 0130          9423       Eandi, Matthew,;.                                20            Associate                              ~.
                          Draft final account and report.
                                                                                                                                                                   ~        020       52.00       260A0       0.20      52.00     260.00 10000                200202     Bi'~.leo
                         06l.4/2012 8130         9423       Eand~, Matthew J.                                 20            Associate
                          Receive and review final accounting.
                                                                                                                                                                            0.10      26.00       260.00      0.10     26.00      260.00 10000                200202     Blllea
                         06/14/2012 6130          9423       Eandi, Matthew J.                                20            Associate



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                                                                                                                                                                                                                                                                                    Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 8 of 15 Page ID
                                                                                                                                                                                                                                                                     Billed and Unbilled
                        Time RenOrt
                               r~-
                                                                                                                                                                                                                                                                               08/06/2018
                        Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326.7)


                                                                                                             Staff Level    Description                          Rate      Orig Hrs    Orig Amt   Orig Rate    Rev Hrs     Rev Amt     Rev Rate Service   Activity   Invoice    Status
                            Date      SM/Task Attorney Name

                          Prepare fina'~. accounting and distebcC,or~ of *ax and administrative claims.
                                                                                                             20             Associate                                          37C       962.00     26CD0         3.70      962.00       260.0 1000                  200202     B'~.!leci
                         ~6~'SI20':2 8130       9423       Eand~~,:V,atthew,;.
                          D~au and complete final accocnt ara repot. mo?Ion
                                                                                                             10             Partner                               ~.           1.3C      682.50     525.00        ':.3~     682.50       525.0^ 10~~0                200202     B'~. leo
                         X6/19/20?2 8130        0":~52     'V~o~dc, Byron Z.
                          Prepare fna! acccur! and report of receiver
                                                                                                             20             Associate                                          1.4G      364.00     260.00        '.40      364.00       2E0.0~ 10000                200202     Baled
                         ~6I18/20`:2 B13C         9423      Eand'~. Matthew J-
                          Additicnai revisions and secLcns fcr dsc~ssicn draft a` moEor on fina~' accou^[ a^.d repot,: email same to client fcr review and discussion.
                                                                                                             `.0            PaRner                                ~            0.`C       52.50     525.00        0.`~.0     52.50       525.0 10 00                 200202     B',leo
                         ~7/C2/2012 8120          0139      Davidscr,Feterq,
                          Letter :c Receiver re 2 checks f•om ADP.
                                                                                                                         Associate                                             0.30       78A0      260.00        0.3~       78.00       260.00 10 00                200202     Billeo
                         ~7/C3/2052 6160         9423      Eand, V!atthewJ.                               20
                          Rece~.ve and review email and a!tachmenis re VAT and, Turkisc attorney fees; cuts:anding fees fcr next fee application.
                                                                                                                            Associate                                          OSC       130.00     260.00        0.50      ?30.00       26D.0~ 1000                 200202     Bi!leo
                         ~7106/2012 8160      9423      Eand'~.. M~.atthewJ.                           20
                          Review documents and emails'e ucdated fees and oending disccssicr on d'~str~oatio~s.
                                                                                                                            Associate                              ~           0.40      10~.00     260.00        0.40      '.04.00      26~.0~ 1000                 200202     8~~11=o
                         07/23120?2 8130       9423       Eand'~, U~atthewJ.                                 20
                          Review Ele and documents tc de:erml^e status c` firing per clier_'s request.
                                                                                                                            Associate                                          0.'C       26-00      260.00       0.'.0      26.00       2EO.00 10000                200202     B~:'leo
                         07/23/20^2 8130           9423       Eandi, Matthew J.                              20
                          Ema~:is with client regarding s:a,us of rno:io^: draft.
                                                                                                                                                                                                     260.00       0.'0       26.00       260.0 1000                  20020e     Billed
                                                                                                                                                                                                                                                                                                                              #:2282




                                                     9423      Eand~, Matthew J.                             20             Associate                                          0.':C      26.00
                         ~7/23/20?2 B130
                          Cail wife client re final accoun~ ano repo.
                                                                                                                            Associate                                          0.50      130.00      260.00       0.50      '~~3C.00     260.00 10CD0                200202     Biilec
                         07/2312012 8310       9423        Eand ~aY.hew J.                                   2G
                          Review research regarding orde! of priority of adminislra6ve a^a tax ciairns.
                                                                                                                                                                               0.60      156.00      260.00       0.60      156.00       260AC 10000                 200202     Bi!led
                         X7/24/2012 8130       9423        Eandi, Matthew J.                           20             Associate
                          Receive and review undated final acccur;and repo^. Analyze same with emalis, invoices and prior figures.
                                                                                                                            Associate                                          0.70      182A0       260.00       0.70      182.00       260.0   10000               200202     B~~.!leo
                         07/30!2012 8130        9423        Eandi, MaChew J.                                 20
                          Review'ile aria documents for drafting final acccun: a^d repot. mcLon-
                                                                                                                                                                               020        52.00      260.00       020        52.00       2E0.0~ 10000                200202     Bilied
                         08/08/20',2 8130         9423       Eandi, Natthew J-                               20             Associate
                          Ema'Js re final account and report.
                                                                                                                            Associate                                  ~       OAO       104.00      260.00       OAp       '~~4.00      2E0.0~ 10000                200202     8iilea
                         08/08I20S2 8130        9423        Eandi,MatthewJ,                                  20
                          Review documents in file tc de'ermine s•,atus of final account and report.
                                                                                                                                                                               020        52.00      260.00       020        52.00       260.00 1000                 2002D2     Bi'~.led
                         ~8/OS/20'2 B130        9423        Eandi, Matthew J.                                20             Associate
                          Search and review prior emails re `Ira! account and report status.
                                                                                                                                                                               0.10       26.G0      260.00       0.10       26.00       260A~ 10000                 200202     Billea
                         06!10/2012 B130       9423         Eandi. NatthewJ.                                 20             Associate
                          Receive and respond ?c email re final account and report.
                                                                                                                                                                       ~       0.?0       26.00      260.00       0.10       26.00       26Q0~ 10000                 200202     Bi'lea
                         08/?'x/20?2 8130        9423       Eandi, Matthew J.                                20             Associate
                          Receive antl review email from Turkey counsel.
                                                                                                                            Associate                                          120       312AC       2fi0.00      ?20       312.00       260.0   10000               200202     Biilea
                         08!16/2012 6130           9423       Eand. Matthew J.                               20



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                                                                                                                                                                                                                                                                                            Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 9 of 15 Page ID
                                                                                                                                                                                                                                         Billed and Unbilled
                        Time Report
                                                                                                                                                                                                                                                   OBI06/2018
                        Stephen J. Donell, Receiver I SEC v. Francois Durmaz, et al. X13326.7)


                                                                                                              Staff Level    Description   Rate     Orig Hrs   Orig Amt   Orig Rate   Rev Hrs   Rev Amt    Rev Rate Service   Activity   Invoice    Status
                            Date       SM/Task Attorney Name

                          Prepare fna;accourtand report.
                                                                                                                              Associate                 O7G      182.00     26C.00       0.70    182.00      260.0 100D0                 200202     &Ilea
                         08/16/20?2 813C         9423         Eandi,Ma~hewJ.                                   20
                          Legal research re loca. rates cer,ral dishiot or fira! accou^1 a~~a procedures `or Discharge o` rece!ver.
                                                                                                                                                        O.SC     130.00     26C.^0       0.50    '•3 .00     260.0   10~~0               200202     B~~'leo
                         D8/.7/20.2 8130          923        Eand,Na"hew J.                                   20             Associate
                          Analyze financial data fcr sral account and re~crt-
                                                                                                                             Associate                  0.70     182.00     260.^0       0.70    `82.00      260.0   t0000               200202     Bf~lea
                         OB/17/2012 B130            9423       Eand~, V~a±:hew ~.                             20
                          Continue drafting fina'" acccu^', and repoK.
                                                                                                                             Assocfaie                  0.9G     234.00     26C.~0       0.90    234.00      2E0.0~ 1000                 200202     Bi'~.led
                         08/21/2012 8130        9023         Eandi. Ma:hewJ.                                  20
                          Review and revise ex;stirg ".cal account and repot mo;icn
                                                                                                                             Associate                  0.40     104.00     26000        0.40    104.00      260.0 10000                 200202     B'.!leo
                         08/22/2012 63'0       9 23     Eandi. Ma?'hew J-                                     20
                          Analyze employee pnor;y calms
                                                                                                                                                        0.20      52.00     260.00       020      52.00      260.0   10CD0               200202     B!!led
                         08/22/2012 6310         9423        Eandi. Matthew .i.                               20             Associate
                          Analyze landlord admiristra;fve Clair^
                                                                                                                                                        0.30      78.OD     2fiC.~0      0.30     78.00      2E0.00 10000                200202     Billeo
                         DS/22/2012 8130       94'23       Eandi. N~aT!hew ~.                                 20             Associate
                          Analyze annotated case docket for G'o~ed~ral history
                                                                                                                                                        0.40     104.00      26C.~0      0.40    ?04.00      2E0.0~ 1000                 200202     B~'~Jeo
                         08/22/2012 6130          9423           Eandi, Mat hew,;.                            20             Associate
                          Review local rules ar,d civil r'.:les c` procedure o^filing motiors
                                                                                                                                                        070      182.00      26C.~0      0.70    58200       260.00 10 00                2002u^2    8i'leo
                                                                                                                                                                                                                                                                                                 #:2283




                         08!22/20.2 6160          9423       Eand~ , V~a:*.hew ~.                             20             Associate
                          Daft retention of professionals section !nto !epert
                                                                                                                                                        Q6C      156.00      26C.~0      0.60    156.00      260.0 10000                 200202     Bl leo
                         08/22/2012 8130         9423       Eandl, Matthew.;.                                 20             Associate
                          Legal research for authcrty regarding prioc'.y of oistributicn
                                                                                                                                           ~            0.60     156.00      260.00      0.60    756.00      260.00 10000                200202     Billeo
                         08/23/2012 6130          9G23        Eandi, MaShew 1                                 20             Associate
                          Revisions to distribution of funds seclon for *~nai acct and report.
                                                                                                                                                        0.30      78.00      260.00      0.30     78.00      260.0   10 00               200202     B~Iled
                         09/23/20.2 8130          9423        Eandi, Mayhew,;.                                20             Associate
                          Revisions to liquidation of assets and clams procedure seGion re FAR.
                                                                                                                                           ~.           120      312.00      260.00      120     3?2.00      260-0~ 10000                200202     Billed
                         08!23/2012 8130         9423         Eand . Mayhew J.                                20             Associate
                          Draft legal argument re distribution c``ands.
                                                                                                                                               ~        O.6C     156.00      260.00      0.60    150.00      260A~ 10000                 200202     8iiled
                         08/23/2012 8310          9423       Eandl, Matthew ~.                             20            Associate
                          Research priority of claim fcr 2121 Avenue of fhe Stars LLC and review order and stip on same.
                                                                                                                                               ~,       OSO      130.00      260.00      0.50    130.00      260.00 1000                 200202     Biiled
                         08/23/2012 6130           9423        Eandi, Matthew J_                              20             Associate
                          Proof ana revise first draft.
                                                                                                                                                        0.30      78.00      260.00      0.30     78.00      260.00 10000                200202     Biileo
                         08/2312012 6130         9423       Eandi, Ma'ihew.i.                                 20             Associate
                          Review local rule 66 on receiverships
                                                                                                                                                        0.30      78.00      260.00      0.30     78.00      260A0 10000                 200202     Billed
                         08/23/2012 B13G       9423      Eandi, Ma^.hew J.                                    20             Associate
                          Review bankruptcy code pursuant to LR 66.
                                                                                                                                                        0.30      78.00      26G.00      0.30     78.00      260.00 10000                200202     Billed
                         08/23/20'2 6130           9423        Eandi, Natthew ~,                              20             Associate




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                                                                                                                                                                                                                                                               Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 10 of 15 Page ID
                                                                                                                                                                                                                          Billed and Unbilled
                        Time Report
                                                                                                                                                                                                                                    08/06/2078
                        Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(13326-7)


                                                                                               Staff Level   Description   Rate     Orig Hrs    Orig Amt   Orig Rate   Rev Hrs    Rev Amt   Rev Rate Service   Activity   Invoice    Status
                            Date        SM/Task Attorney Name

                          Revise i~troauc'ion section.
                                                                                               20            Associate                  0.4C      10C.00     26C.D0       0.40    '4.00       260.00 100 0                200202     Bi!lea
                         08/23 20'2 B130          9423        Eand'., Matthew.
                          Revise distribu;io^ section with aank~uatcy law aoo slip &order.
                                                                                               ?0            Parner                     1.50      7H7.50     525.0        '~_50    %87.50     525A010000                  200202     Bi!led
                         D8/24/2p'.2 6130        Oi52      Mo:~ao,ByronZ.
                          Prepa•e Fina~ acccunt and report
                                                                                               20            Associate                  O.6C      156.00     26C.00       0.60     .56.00     260.00 10000                200202     Bi'~led
                         08/2S/20'.2 B130           923           Eandi, Ma",hew J
                          Fina:.ize fina~. accounting; final orocf~, send to ciie~t.
                                                                                               ^~~0          ?ar:ner                    0..0       52.50     525.00       0.10      52.50     525.OG 10000                200202     Billed
                         08/28120<2 8240        0152          Moloc, Byron Z.
                          Review IRS 8/21/.2 letter re 2C'~.1 tax reP~r^
                                                                                               10            ?artner                    020       105.00     525.00       020      "C5.00     525.00 10000                200202     6i!led
                         08/29/20'2 B240          0152          Md~oo. Byron Z.
                          Prepare letter ,c Hein re a,ua!i'ied se!tlement fund
                                                                                               20            Associate                  O..0       26.00     26G.00       0.'0      26.00     260.00 1000                 200202     Bi!led
                         09N~8/20?2 B13C        9423       EandL. Nia"hew,;.
                          Rece!ve and review email `rom law'irm ~. n Turkey
                                                                                               ?0            Par,ne!       ~.           0.'.0      52-SD     525.00       0.10      52.50     525.00 10"u00               200202     Bi led
                         10!',7/20?2 B120       013        Dav''~.dsc^. Peter A.
                          Review press releases cn ar•ests of Priblls~i `or USA fraud.
                                                                                               '.0           °ar;ner                    020       105.00     525.00       020      105.00     525.0"u 10000               200202     Bi!leo
                         10!?9/20'.2 8120     0',39       Dav~:dsc^, Fe!er A.
                          Review chages and indic.ment aga~.:~sl defe~.aants.
                                                                                                                                        020        52.00      260.00      020       52.00     260A0 10000                 200202     Billed
                                                                                                                                                                                                                                                                                 #:2284




                         1 1/06120'2 8240        9423       Eandi, 'Na;~hew .i.                20            Assodate
                           Receive and review email -e'.RS audit.
                                                                                               .0            Par?ner                    020       105.00     525.00       020      105.00     525.OG 10000                200202     Bi~.led
                         1 1/06/20`2 B13C       0?52          Vo'~~ao, Byron Z.
                          Tele~hore call from Bales re `final account
                                                                                                             Associate     7            020        52.60      260.00      020       52.00     260.00 10000                200202     Billed
                         1 1/C7/20i2 8240      9423              Eand', ~U~a!thew J.           20
                           Review tax document
                                                                                                             ?artner       ~            D.?0       52.50      525.00      0.'0      52.50     525.00 10000                200202     Bl led
                         1 1/07/2012 6240         0.52         Moidc,ByronZ.                   ?0
                           Review Hein letter regarding final tax return
                                                                                                                                        0.20      105.00      525D0       0.20     ` 5.00     525.0   10D00               LOOZOL     Biileo
                         1 1/07/2012 8240         0?52        V~olac, Byron Z.                 '.0           Par!ne!
                           Telephcne call to receiver regardlrg [ax issues
                                                                                               20            Associate                  OAG       104.00      26C.~0      0.~0     '04.00     260.00 10000                200202     Blileo
                         1 1/?012012 6240      9423         Eandi, Matthew J.
                           Review documents and file re tax issue fcr status report.
                                                                                                             ?artner       ?            0.10       52.50      525.00      0.?0      52.50     525.00 10000                200202     Billed
                         1 1116!2012 8120          0139       Davidson, Pete~rA.               10
                           Letler to Receiver re check tc Malaii Property.
                                                                                                             Associate     1            1.20      312.00      260.00      '~.20    3'2.00     260.00 10000                200202     Billed
                         1 1/19/2012 8240      9423       Eandl, Matthew J.                    20
                          Commence drafting status repod regarding [ax issues.
                                                                                                             Associate          ~       0.10       26A0       260.00      0.10      20.00     260.00 10000                200202     Billed
                         12/03/20i2 8110        9423        Eandl, Matthew J.                  20
                          Discussion with Byron Moldc re fling cf staWs report.
                                                                                                             Partner                    0..0       52.50      525. 0      0.10      52.50     525.00 10000                200202     Bllea
                         1 2/04/20'2 8240           0152         Moioo, Byron Z.               .0



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                                                                                                                                                                                                                                               Case 2:10-cv-01689-JLS-AJW Document 116-1 Filed 08/13/18 Page 11 of 15 Page ID
                                                                                                                                                                                                                                      Billed and Unbilled
                        Time Report
                                                                                                                                                                                                                                                08106120 1 8
                        Stephen J. Donell, Receiver /SEC v. Francois Durmaz, et al.(73326-7~


                                                                                                         Staff Level   Description   Rate     Orig Hrs     Orig Amt   Orig Rate   Rev Hrs    Rev Amt    Rev Rate Service   Activity   Invoice    Status
                            Date       SM/Task Attorney Name

                          Review ~etter and respoco :c 82ies re `.ax ~ss~~e
                                                                                                                       °acne-                     Q'C         5250      525.^0       0.'.D     52.50      525.0 10~~0                 20022      Bi]ea
                         12/C6/20'~.2 631C    0152      Vioac,ByronZ.                                    `.0
                          Review corresacnderce re SBOE c'~a.m
                                                                                                                       ?artner                    02C        105.00     525.00       020      X5.00       525.0 .0;;~0                2002 2     Blllea
                         1 27'x,4/2012 B16C       0152       Voloo, Byron Z-                             10
                           Review Drier fee orders and cuts:anding `.ees
                                                                                                                       Associate     ~            O.SC       21E.00     27C.~0       0.80     216.00      270.0   10; 0               200202     B'~. lea
                         ~2IC9I20`3 8240      9298    Eandi, UiaYhewJ.                                   20
                          Review documents and commence draF,ing status repeR re IRS issue.
                                                                                                                       ?ariner                    Q1C         52.50     525.00       0.^.0     52.50      525.0   ioC~O               200202     8~~!leo
                         03/26120?3 B120          0152      V:o-:~ao,Byron Z.                            10
                          Review Sterr le:;er re FOIA req~esl
                                                                                                                       Par•.ner                   020        105.00     525.00       02D      105.00      525.0   10~~0               200202      B~J~lea
                         X3126/20;3 B12C          0.52        V~oloc,ByronZ.                             '~0
                          Prepare 'etter :o receiver re FOIA request
                                                                                                                       'artne~       ~            O.5C       262.50     525.00       0.50     262.50      525.0   10~~0               200202      Bi!lea
                         X3/2712013 B120        0'52       N;o-oc, Byron Z.                              .0
                          P-epare ette~!o Stern re FOIA reaues:
                                                                                                                                     ~.           0.`C        52.50      525.J0      0.'0      52.50      525.0 tOC~O                 200202      Bi'.lea
                         X3/29/20`3 8120        0152      ~Uo~~.oc,By~onZ.                               '.0           ?arne~
                          Tele~hcne call from Stem re FOIA rea,:es:
                                                                                                                                     ~            0.'~,C      5250       525.00      0.10      52.50      525.00 10~~0                20022       B!Ileo
                         07/08120'.3 8240       0'52 .        Moldc, Byron Z                             '-0           garner
                          Review IRS 7/2/13 ette~
                                                                                                                                                              52.50     525.0        0.'D      52.50      525.00 1000                 2002 2      B~~led
                                                                                                                                                                                                                                                                                               #:2285




                                                  0.39      Davldscr, Pe:e~A.                            'A            ?ar:nee       1            0-1C
                         ~ 2i23/20~3 B120
                           Letter :c Receiver re ADP check.
                                                                                                                                         ~        0.'.0       SS.CO      S5C.00      0.10      55.00      5W.0~ 10000                 200202      B;:leo
                         ~2/O5l20?4 6240         0'.52      :V~o'oc, Byron Z.                            '0            aar;ner
                          Review IRS 2/3/14 setter re 2012 retu~^.
                                                                                                                                     1            020        110.00      SSC.~O      020      '?0.00      550AC 10000                 200202     891eo
                         X2105/20?4 B24C         0152         Moiac, Byron Z.                            '0            °ar:ner
                          Telephone ca;l to Bates re final tax return
                                                                                                                                         ~        0.30       165A0      55C.~0       0.30     165.00      550.0"u 10 00               200202      B!!led
                         02/05120"~4 6240     0152          Mddc,ByronZ.                                 '0            Partner
                          Conference Habecovic re final tax return
                                                                                                                                     ?            020         90.G0      450.00      0.20      90.00      450.0   10~~0               200202      BP~lea
                         02IC6l20?4 B24u           0628         Fabekov'~c, Va~ja                        30            O` Ccunse!
                          D;sc.~ss audit s~aiute of Ilmf~ations with Byror.
                                                                                                                       °arner                     020        110.00      S5C.^0      020      110.00      SSOAC 10000                 2002 2      BP~.leo
                         02/07120.4 8240         0152         V,o'~.oc, Byron Z.                         '0
                          Teleahene call to Bates re final tax return
                                                                                                                                     ?            D2C        110.00      SSC.~O      020       .10.00     55000 10000                 20022       Bi,lea
                         02/?2/20?4 8240         0`.52      N~oidc, Byron Z.                             10            ?artner
                          Telephone call to Agler re dosing agreement
                                                                                                                                          i       020        110.00      SSG.^0      0.20     110.00      550.Ou 1000                 2002Q2      Bi:lea
                         03!'0/20'4 B240          0?52         Moidc, Byron Z.                           '.0           ?arner
                          Review !etlers to tax agencies
                                                                                                                                                  0.40       220.00      SSC-CO      OAO      220.00      550.00 10 00                200202      Billea
                         ~3/20I2014 8240         0152        Moloc. Byron Z.                             i0            ?ar'ner
                          Telephone call to receiver, Hein re closing agreement and `final tax returns
                                                                                                                                                  OAC        220.00      SSC.00      0.40     22D.00      SSO.Ou 10 00                200202      Bi'~,lea
                         0312',/2014   B130        0152        Moldc, Byron Z.                           ':0           °ar?nor




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                                                                                                                                                                                                                                                                  Billed andUnbilled
                        Time Report
                                                                                                                                                                                                                                                                            OBI06/2018
                        Stephen J. Donell, Receiver 1 SEC v. Francois Durmaz, et al. (13326-7)
                                                                                                                                                                                  s

                                                                                                           StaN Level     Description                         Rate     Orig Hrs       Orig Amt   Orig Rate   Rev Hrs    Rev Amt     Rev Rate Service   Activity   Invoice    Status
                            Date         SM/Task AttorneY Name

                          Review case stags re constructNe trust
                                                                                                           ',0            darner                              '~           ~.SC         275.00     SSC.00       0.50      275.00      550.0   10000               2002^2     Billea
                         03/2~J20'4 B16C           0152       Moido,By!onZ
                          Prepare `ina~ fee app~.ica`.Icn
                                                                                                           '~:0           ~arne~                              -            1.00         550.00     55C.~C       ':.00     SSQ.00      SSO.00 1000                 200202     Billed
                         03/3',/20'.4 6160      0'.52         Noldo, Byron Z.
                          Prepare`mal fee applica5cn
                                                                                                           '-0            Panne•                                           O.00           OAS         C.00      0.00     -528.00        O.00 10000                200202     Billed
                         04/C9I20'4                0?39       Davidson, Peter A.

                                                                                                                          Parine~                             1            D.00           O.CO        0.~0      O.DO     -833.00        O.00 10000                200X2      Billed
                         04/09/20^.4               0'52       Moldo, Byron Z.                              ".0

                                                                                                                          Paralegal                                        0.0C           0.00        C.00      O.CO     -225.60        OAC t0000                 200X2      Bi!leo
                         04/C9/20'4                0361       Castelli, Teresa U.                          GO

                                                                                                                          Of Ccurse'~,                                     O.00           OAO         0.00      0.00        -9.00       0-OC t0000                200202     Bi!led
                         04!09/2014                0628       Habekovic, Varja                             30

                                                                                                                          Associate                                        O.00           O.CO        0.00      0.00      -2i-60        O.00 10000                200202     Billed
                         04109/20'A                9298       Eandi, Matthew J.                            20

                                                                                                                          Associate                                        O.00           0.00        QvO       O.^uO   -1,1OS.00       O.00 1000O                2OOZOL     BIIIea
                         04/09/2014                9423       Eandi, Matthew ,i.                           20

                                                                                                           10             Parner                                  -        Q'C           55.CD      SSC.00      0.i0       55.00      550.00 10000                203566     Billed
                         04/15120`.4 B2<0        0152          Moldo, Byron Z.
                          Review IRS IeIIer re 2010 return
                                                                                                                          Partner                                  ~       0.40         X20.00     55.00        0.40      220.00      550.0 10000                 21'.960    Billed
                         07/23/20^~4 B24~         0'52        Uoldo,ByronZ.                                ?0
                          P-epare !eller tc Bates re tax matters
                                                                                                                                                                                                                                                                                                                         #:2286




                                                                                                                          Parner                                           1 20         660.00      SSCAO       '_20      6E0.00      SSO.00 10000                211960     Bl~llea
                         07/28120'4 B2<C          0152        Moldo,ByronZ.                                ?0
                          Prepare 'etle~ :c IRS re release cf liability
                                                                                                                          ?ar:ner                             ~            O AC           0.00        0.00      0.00        -5.50       O.OG 10000                203566     Bi!led
                         0713'~,120'~4             0152        Moldo, Byron Z.                             '~.0

                                                                                                                          Partne-                                          0-1C          57.50      575.00      0.10       57.50      575.OG 10000                211900     Billed
                         01/i3/2015 8240          0152       Moldo, Byron Z.                               .0
                          Review IRS '~~2/25/14 letter re 2013 ,axes
                                                                                                                          PaCner                                           Q00            0.00        0.00      0.00       -93 J5       O.00 10000                21'960     &fled
                         04/?x/20'.5               0152        Moldq Byron Z.                              10

                                                                                                                          ?ar;ner                                          1 AG         640.D0      640 A0      L00       640.00      640.00 10000                253584     Billed
                         07Y;2/20?7 B1?0        0.52           Moldo,ByronZ.                               10
                          Pr=pare `ina~ acrouci
                                                                                                                          Par`.ner                            1            1.sC         832,00      640.00      '.30      832.00      640.00 1000                 253?84     Bi!led
                         07/'7/20'7 811D         0152      ~/oldo, Byron Z.                                ?0
                          Prepare fina~ acccur[ and repert
                                                                                                                          Paralegal                                        x.80         188.00      235.00      0.80      ?88.00      235.00 10000                253?84     Billed
                         10I2o120'7 B190           0361        Castelli, Teresa N'.                        40
                          A:[enticn to fna! report of receiver
                                                                                                                          Paralegal                                        5.30       `,245.50      235.00      5.30     1,245.50     235.00 10000                253?84     Billed
                         10127120,7 B11C         0361         Castelli,TeresaVi.                           40
                          Research and retrieval of billing maferial for final repert.
                                                                                                                          Associate                                        0.30         126.00      420.00      0.30      126.00      420.00 10000                253i 64    Billed
                          10/30I20~7 6160       0290         Shenk, John W.                                 20
                           Conference with Teresa Castelli regarding final account and report and remaining information oeedea; review final account and report
                                                                                                                          Paralegal                           1            3.30         775.50      235.00      3.30      775.50      235.00 10000                253184     Billed
                          10!30/2017 B110           0361       Castelli, Teresa N.                         40
                           P separation of final account and supporting exhibits
                                                                                                                          Associate                           1            2.00         840.00      420.00      2.00      840.00      420.00 10000                253'84     Billed
                          10/31120`7 8160          0290        Shenk, John W.                              20


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                                                                                                                                                                                                                                                              Billed andUnbilled
                        Time Report
                                                                                                                                                                                                                                                                        08/06/2018
                        Stephen J. Donell, Receiver 1 SEC v. Francois Durmaz, et al.(13326-7)


                                                                                                                Staff Level   Description               Rate      Orig Hrs       Orig Amt    Orig Rate   Rev Hrs   Rev Amt      Rev Rate Service   Activity   Invoice    Status
                            Date       SMITask Attorney Name

                          Review/revise final account and repot; co~fere~ces wi;h Teresa Cas[ell a^a Syron Mcldc regarding same; emaiis with Steve Do^eli and Sarah Bates regaraing same
                                                                                                               ~0             Paralegal                               2.00         470.00      235.00       2.00    X70.00        235.00 1000                 253'84     Billed
                         1013^./20'7 B110           0361       Caste!li, Teresa V..
                          P repara;lon of final report
                                                                                                                `~0           Partner                    ~,           O.00            0.00        G.00      0.00    -' 7.20         O.00 89997                253?84     Billed
                         X 0/3./20'?                0152       Mo!do, Byron Z.

                                                                                                                              Associate                  ~            OAC             ODO         C,00      O.CO     -96.60         O.00 89997                253184     Billed
                         10i3'.~20'7                0290       SheoK. John W.                                   20

                                                                                                                              Paralegal                 i             O.00            0.~0        C.00      OAO     -2E7.90         QOC 89997                 253184     Billed
                         ~013'i20'7                 0361       Caste!li, Teresa U.                              40

                                                                                                                40            Paralegal                  i            0-SC          117.50     235.D0       0.50    '. ".7.50     235.00 1000                 0          Unoilled
                         1 1/C1/20'~7 6110          0361       Caste!Ii. Teresa !~.
                           Retrieval o. additional informaticn fcr p!eaare[br. o!fina• report
                                                                                                                              Paralegal                   ~           1,OC          235.00     235.00       1.00    235.00        235.0 100 0                 .,         Unoil!eo
                         1 1lC2!20'7 B11C             0361     Casteili. Teresa M-                              ~0
                           A;?enl~~on to final report issues
                                                                                                                              Paralegal                               ~.3C           70.50     235.00       0.30     70.50        235.0   10 00               0          Unbilled
                         1 1/2?120"7 6116         0361         Castelli. Teresa U..                             40
                           Respond to inquiry re fees
                                                                                                                    Associate                                         0,30          126.00     420.00       0.30    126.00        420.0 10 00                 ~          Unoilied
                         12/07/20i7 8160      0290      Shenk, John W.                                  20
                          Conferences w;h Byron Moldo and -eresa Cas,ellf reaardfng mvcices'or final accoun!ano repoC
                                                                                                                 40           Paralegal                   ~           1.10          258.50      235.00      '.?0    258.50        235.00 7000                 0          Unoilieo
                         1 2/C7I20'7 B1?~            0361       Casteili.Teresa'V.
                           A;;ention to final report issues; preoaralion and tre~sml;:al of accounting aata to receiver
                                                                                                                                                                                                                                                              u          Unbflleo
                                                                                                                                                                                                                                                                                                                      #:2287




                                                                                                                30            O! Ccunsel                      ~       1.`C          605-QO      SSC.00      i.~0    605.00        S50.00 10 00
                         1 2/C7/20?7 8110            0614      Berman., Howard Z.
                           A!:enC,on to f nal report accounting issues
                                                                                                                              Paralegal                  1            0.80          188.00      235-00      0.80    ':88.00       235.0 10000                 C          Unbilled
                         ~ 2/C8/20'.7 8110        0361        Castelli, Teresa M.                               40
                           Prepaat~:cn and transmittal of additional documentation for final ~epert
                                                                                                                              Paralegal                               t_BC          423.00      235.00      1.80    423.00        235.00 10000                C          Unbilled
                         1 2l18/20~7 B110         0361       Castelli, Teresa N.                               40
                          Preparation of final repoR and supporting exhibits: craft notice cf hearing; preparation of service Gst
                                                                                                                              Paralegal                       ~       2.60          61?AO       235.00      2.60    6'.1.00       235.00 10000                           Unbilled
                         1 2/22/20',7 81?0         0361      Castelli, Teresa M.                                40
                           Revision of `nal repert and account; preparation o`same for filing and service
                                                                                                                              Partner                                 S.00        3,375,00      675.00      5.00   3,375.00       675.0   10000               0          Unbilleo
                         02109/20'8 8110         0152      Moldo, Byron Z.                                      '.0
                          Cour. appearance final account and repot
                                                                                                                              Paralegal                  ?            1.00          235.00      235.00      ?AO     235.00        235.00 10000                ..         Unoilied
                         05108/20'.9 8110     0361       Castelli-Teresa U..                                    <0
                          Daft amended motion for approval of final account
                                                                                                                                                         1            0.90          211.50      235.00      0.90    2.1.50        235.00 10 00                0          Jnbilied
                         OS/09/20?8 61 i0      0361       Castelli, Teresa N:.                            40              Paralegal
                          Telephone conference with Ms. Bates re accounting in'ormatior.; update motion for approval of final report
                                                                                                                                                         1            0.40           94.00      235.00      0.40      94.00       235.00 10000                ~          Unbilled
                         05/10/20'8 8110            0361       Castelli, Teresa N.                              40            Paralegal
                          Attention to final report issues
                                                                                                                              Paralegal                               1AG           329.00      235.00      tA0     329.00        235.00 10000                0          Unbilled
                         061?1/20'~.g 61'x.0        0361       Castelli, Teresa M.                              40
                          Revision. of `final account and report
                                                                                                                              Paralegal                  1            ~.6C          141.00      235.00      0.60     141.00       235.00 1000                 0          Unbilled
                         06/14/2018 B1~C            0361       Castelli. Teresa Ni.                             40



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                                                                                                                                                                                                                                 Billed and Unbilled
                        Time Report
                                                                                                                                                                                                                                           08106/2018
                        Stephen J. Donell, Receiver I SEC v. Francois Durmaz, et al. (13326-7)


                                                                                                 Staff Level   Description         Rate   Orig Hrs   Orig Amt    Orig Rate   Rev Hrs   Rev Amt     Rev Rate Service   Activity   Invoice    Status
                            Date      SM/Task Attorney Name

                          Revisio^ of !ir.al account
                                                                                                               Paralegal                      0.6C     14..00      235.0        060      ? 1.00      235.00 10 00                C          Jnbilled
                         06/?8!2018 81'•0        0369     Castelli,Teresa V.                     40
                          Dra` order on final account

                                                                                                                             _ _           116.30    40,492.50                116.30   33,166.00
                        Reoort Totals:
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